     Case 8:18-bk-13870-MW            Doc 132 Filed 08/10/21 Entered 08/10/21 15:08:36             Desc
                                       Main Document Page 1 of 1



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                                                                         CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
6                                                                        BY jle        DEPUTY CLERK


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8
                                 UNITED STATES BANKRUPTCY COURT
9
                    CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
10
11   In re:                                             Case No.: 8:18-bk-13870-MW

12   Francisco Ramirez Ramirez                          CHAPTER 13
     Aurora Mendez Barajas
13                                                      ORDER CONTINUING STATUS
                                                        CONFERENCE
14
15                                        Debtor(s).    Date:      August 9, 2021
                                                        Time:      2:00 PM
16                                                      Courtroom: 6C

17
18             The status conference is continued to November 8, 2021 at 2:00 p.m. to give the

19   parties additional time to resolve the settlement agreement modification matter.

20             IT IS SO ORDERED.

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              Date: August 10, 2021
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